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                          IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

Gene Stilp, and
Stephen J. Connolley,

                                 Plaintiffs,

       vs.                                               No.

Borough of West Chester,                                 JURY TRIAL DEMANDED

                                 Defendant.

                                               Complaint

       Plaintiffs Gene Stilp and Stephen J. Connolley by undersigned counsel Mette, Evans &

Woodside files this complaint challenging Defendant Borough of West Chester’s open burning

ordinance as unconstitutional - facially, as applied, and for vagueness - in violation of the civil

rights of Plaintiffs Stilp and Connolley to publicly bum flags in political protest as a form of

expressive conduct.

I.     Parties

       1.        Plaintiff, Gene Stilp (“Stilp”), is an adult individual.

       2.        Plaintiff, Stephen J. Connolley (“Connolley”), is an adult individual.

       3.        Defendant Borough of West Chester (“Borough”) is a political subdivision of the

Commonwealth of Pennsylvania that maintains a principal office at 401 Gay Street, West

Chester, Pennsylvania 19380.

II.    Jurisdiction and Venue

       4.       Jurisdiction is founded upon 28 U.S.C. § 1343. This case is brought under 42

U.S.C. § 1983. Attorneys fees are authorized by 42 U.S.C. § 1988.




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        5.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391 (b)(1), because the

Borough is located in the Eastern District of Pennsylvania, and the Eastern District is the location

where a substantial part of the events or omissions giving rise to the claim occurred.

        6.       Plaintiffs seek legal and prospective equitable relief.

III.    Standing

        7.       Plaintiffs were issued citations under the Borough’s Open Bum Ordinance and

faced summary trials in Magisterial District Court 15-1-01 at docket numbers MJ-15101-NT-

0000427-2020 and MJ-15101-NT-0000428-2020.

        8.       The summary offenses charged are filed at docket numbers MJ-15101-NT-

0000427-2020 and MJ-15101-NT-0000428-2020.

        9.       Stilp and Connolley stood trial on the charges on March 2, 2021.

        10.      The charges were dismissed by Magisterial District Judge William Kraut on

March 3, 2021.

        11.     Because Plaintiffs have been prosecuted under the ordinance and desire to

conduct additional protests in the future involving the use of public burning as expressive

conduct, Stilp and Connolley have standing to seek prospective relief from future enforcement of

the ordinance against them.

IV.     Facts

        12.     The allegations of the foregoing paragraphs are incorporated by reference.

        13.     Stilp is a prominent political activist in Pennsylvania who frequently conducts

public protests against political cormption and racial injustice.

        14.     Connolley is a political activist in Pennsylvania who frequently assists Stilp in

conducting political protests against political corruption and racial injustice.



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        15.     Over the past several years, Stilp has publicly burned political flags in various

locations throughout the United States as a means of protesting politicians and political

ideologies he opposes.

        16.     Connolley has often accompanied Stilp to the various locations and has assisted in

organizing, publicizing and conducting such political protests.

        17.     As part of such protests. Plaintiffs often burned flags bearing images and slogans

supporting policies and politics of former President Donald J. Trump.

        18.     On or about October 27, 2020, Stilp notified the Chester County Commissioners

of his intent to hold a public protest involving the burning of flags in front of the Old Glory

Monument in front of the historical Chester County Courthouse in the Borough of West Chester

on October 28, 2020. See Exhibit A attached hereto.

        19.     The Chester County Commissioners, by their agent, Rebecca Brain, indicated

their assent to the political protest and granted permission to Stilp to conduct the protest on the

steps of the Chester County Historic Courthouse. See the email communication attached hereto

as Exhibit B.

       20.      Stilp intended to bum a “Cancel Trump Postage Stamp” at the protest as well as

five flags: a Trump campaign flag sewn together with a Nazi flag, a Trump campaign flag sewn

together with a flag of the former Soviet Union, a Trump campaign flag sewn together with a

Confederate flag, a combined flag (consisting of a Trump campaign flag sewn together with a

Confederate flag, a Nazi flag and a former Soviet Union flag), and a Tramp/750 flag

(collectively, “Tramp Protest Flags”).




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         21.     Stilp and Connolley’s intended purpose in burning the Trump Protest Flags was to

publicly oppose and protest policies and positions espoused by then President Trump which

Plaintiffs assert to be racist and harmful to the country.

         22.     The area in front of the Old Glory monument in front of the historical Chester

County Courthouse is open to the public and is a traditional public forum.

        23.      On October 28, 2020, Stilp and Connolley appeared at this location to protest as

Stilp had advised would happen.

        24.      Stilp and Connolley were met at their arrival by West Chester Code Enforcement

Officer, Kevin Gore (“Gore”), who advised that they would be cited under the Borough’s Open

Bum Ordinance if they proceeded with the protest despite the permission granted for the

demonstration from the Chester County Commissioners.

        25.     Wishing to exercise their First Amendment rights of political protest, Stilp and

Connolley advised Gore that they intended to proceed with the political protest as planned and

approved by the Chester County Commissioners.

        26.     Gore collected personal information from Stilp and Connolley and summoned

local law enforcement to the location.

        27.     Stilp and Connolley nevertheless proceeded with the political protest and ignited

the first of the Trump Protest flags over a steel trash can which they had brought to ensure fire

safety at the protest.

        28.     On November 19, 2020, a non-traffic citation was filed against Stilp for his

alleged violation of the Bum Ordinance in connection with the political protest involving the

burning of flags held on October 28, 2020. A copy of the summons showing the filing of the

citation is attached as Exhibit C.



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         29.     On November 19, 2020, a non-traffic citation was filed against Connolley for his

alleged violation of the Bum Ordinance in connection with the political protest involving the

burning of flags held on October 28, 2020. A copy of the docket sheet showing the filing of the

citation is attached as Exhibit D.

        30.      As noted supra, the summary offenses charged against Plaintiffs at docket

numbers MJ-15101-NT-0000427-2020 and MJ-15101-NT-0000428-2020 respectively were

dismissed after a summary trial on March 3, 2021.

        31.      The Borough maintains an ordinance that regulates public burning. See Chapter

57 of the Codified Ordinances of the Borough of West Chester, Pennsylvania. The relevant

chapter and related sections of the Codified Ordinances (§§ 57-1 - 57-5) are attached as Exhibit

E.

        32.      The Bum Ordinance expressly incorporates the International Fire Code of 2003,

as supplemented, reissued, amended, and revised (“IFC”) (collectively “Bum Ordinance”). See

id. at § 57-1.

        33.      The current edition of the IFC at the time of Stilp and Connolley’s protest, known

as the 2018 International Fire Code (“IFC 2018”), defines “recreational fire” as follows,

        RECREATIONAL FIRE. An outdoor fire burning materials other than rubbish
        where the fuel being burned is not contained in an incinerator, outdoor fireplace,
        portable outdoor fireplace, barbeque grill or barbeque pit and has a total fuel area
        of 3 feet (914 mm) or less in diameter and 2 feet (610 mm) or less in height for
        pleasure, religious, ceremonial, cooking, warmth or similar purposes.

IFC 2018 at § 202. Copies of this and other relevant sections of the IFC (2018) are collectively

attached as Exhibit F.

        34.      The IFC (2018) allows a “recreational fire” without prior government permitting

or approval if a) the fuel area does not exceed three feet in diameter and two feet in height, b) the



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fire is not conducted within 25 feet of a structure or combustible material, and c) no conditions

exist that could cause a fire to spread within 25 feet of any structure. IFC (2018) §§ 202,

307.4.2.

        35.     The fire that Stilp and Connolley lit satisfied all such requirements.

        36.     Because the Bum Ordinance as written does not on its face expressly allow the

lighting and burning of a flag in a manner otherwise meeting the requirements of a “recreational

fire,” the Bum Ordinance arbitrarily distinguishes between different forms of fires based on the

expressive purpose to which they are put and allowing, for example, fires for “pleasure,”

“ceremonial” and “religious” purposes, while prohibiting the exact same fire if lit and maintained

for the purpose of political demonstration.

        37.    Irrespective of any facial allowance for open burning for political expression, the

Borough interprets and applies the Bum Ordinance as though such fires are prohibited even

though otherwise meeting the requirements of “recreational fire” thereunder.

       38.     Additionally, the vagueness of the language of the Bum Ordinance, with its lack

of clarity as to whether a fire used for political demonstration is allowed under the “recreational

fire” exception, allows the Borough to enforce the Burn Ordinance in an unconstitutionally

arbitrary and discriminatory way.

       39.     Violations of the Borough’s Bum Ordinance are punishable as summary offenses

with penalties of up to $1,000 per violation and 30 days in prison. See Ex. E, Bum Ordinance §§

57-3(F), 57-5, Ex. F, IFC (2018) § 110.4 (successor to IFC (2003) § 109.3).

       40.     Violators are further subject to civil actions for abatement. IFC (2018) § 110.4.1

(successor to IFC (2003) § 109.3.1).




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        41.     The Borough has de facto prohibited, by facial overbreadth, application and/or

vagueness of the Bum Ordinance, all burning of flags as a form of political protest despite the

Bum Ordinance’s allowance of recreational fires for “pleasure,” “ceremonial” and “similar”

purposes.

        42.     Stilp and Connolley are under reasonable fear of governmental restraint of future

expressive conduct, prosecution and other adverse civil proceedings if they should conduct

further political protests in the Borough of West Chester through the use of flag burning.

        43.    Because of the actual and arbitrary prohibition of their political demonstration

despite their reasonably-interpreted compliance with the Bum Ordinance as written—vague

though it be—Stilp and Connolley reasonably fear conducting protests involving flag burning in

public places in the future within the Borough of West Chester.

       44.     Stilp and Connolley desire the freedom to conduct one or more additional flag

burning protests in the future within the Borough of West Chester, including both on courthouse

grounds and in other public areas of the City.

       45.     Stilp and Connolley have no adequate remedy at law to prevent prospective

enforcement of the Bum Ordinance against them and suppression of their constitutionally-

protected right of expression.

                                            Count I
                   Violation of First Amendment Right to Free Expression
                                       (Facial Challenge)
                                        42 U.S.C. § 1983

       46.     The averments of the foregoing paragraphs are incorporated by reference.

       47.     The Bum Ordinance is overly broad in prohibiting constitutionally protected

expressive conduct, to wit, open burning otherwise meeting the definition of “recreational fire”




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under the ordinance when undertaken for a political expressive purpose but not within the

ordinance’s allowance for “ceremonial,” “pleasure” or other “similar” purpose.

        48.     The Bum Ordinance facially violates the First Amendment by prohibiting

expressive conduct for the purpose of political demonstration while permitting other qualitatively

identical expressive conduct for non-political demonstration purposes.

        49.     Stilp and Connolley are in reasonable fear of prosecution for a summary offense

and civil action for abatement by the Borough under the Bum Ordinance (as well as the

imposition of additional penalties) if they would again attempt to bum political flags as

expressive conduct given that the Bum Ordinance facially does not clearly permit such conduct.

        WHEREFORE, Plaintiffs Stilp and Connolley pray the Court to:

                a.      PERMANENTLY ENJOIN enforcement of the Bum Ordinance by the

Borough of West Chester as FACIALLY UNCONSTITUTIONAL under the First Amendment

for prohibiting the lighting and maintaining of fires for the purpose of political demonstration in

all respects; and

                b.      AWARD attorneys fees pursuant to 42 U.S.C. § 1988, costs of suit and

such other relief as is just and equitable.

                                             Count II
                     Violation of First Amendment Right to Free Expression
                                      (As Applied Challenge)
                                         42 U.S.C. § 1983

       50.     The averments of the foregoing paragraphs are incorporated by reference.

       51.     Irrespective of the language of the Bum Ordinance, the Borough has actually

applied the Bum Ordinance in violation of Stilp and Connolley’s right to freedom of political

expression under the First Amendment.




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        52.     Stilp and Connolley’s actions were undertaken for “pleasure,” “ceremonial” or

“similar” purpose under the Bum Ordinance and otherwise met the requirements for a

“recreational” fire, yet Borough officials issued Stilp and Connolley citations for igniting the

fire, pursued the citations against Stilp and Connolley in a summary trial, and Stilp and

Connolley are under ongoing threat of prosecution if they should again engage in the public

burning of flags in ceremonial political demonstration.

        53.     Such action by the Borough demonstrates that, apart from whether the Ordinance

facially allows the use of open burning for political demonstration even if meeting the

requirements of a “recreational fire.” the Borough applies the Bum Ordinance in a way so as to

prohibit such open burning.

        54.     Stilp and Connolley are in reasonable fear of prosecution for a summary offense

and civil action for abatement by the Borough under the Bum Ordinance if they would again

attempt to bum political flags as expressive conduct in light of the Borough’s application of the

Bum Ordinance.

        WHEREFORE, Plaintiffs Stilp and Connolley pray the Court to:

                a.      PERMANENTLY ENJOIN enforcement of the Bum Ordinance by the

Borough of West Chester as UNCONSTITUTIONAL AS APPLIED under the First Amendment

in prohibiting the burning of political flags otherwise meeting the requirements for “recreational

fire” under the Borough’s Bum Ordinance; and

               b.       AWARD attorneys fees pursuant to 42 U.S.C. § 1988, costs of suit and

such other relief as is just and equitable.




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                                      Count III
     Burn Ordinance Void for Vagueness Under the First and Fourteenth Amendments
                                   42 U.S.C. § 1983

        55.     The averments of the foregoing paragraphs are incorporated by reference.

        56.    Alternatively, the Bum Ordinance is vague in that it does not provide a person of

ordinary intelligence with a reasonable opportunity to know what conduct is prohibited and to act

accordingly to avoid punishment or adverse civil proceedings.

        57.    Additionally, the Bum Ordinance is vague in that it touches upon sensitive and

protected areas of expressive activity and, due to its lack of precision, inhibits expressive activity

and chills the exercise of conduct protected under the First Amendment.

        58.    The Bum Ordinance is void for vagueness under the Fourteenth Amendment for

allowing “recreational” fires of a certain size for “pleasure,   55 C6
                                                                         ceremonial” or “similar” purposes

but not defining such words, thereby leaving to the discretion of law enforcement the decision

whether to punish people such as Stilp and Connolley who would use flag burning in political

demonstrations.

       59.     The Bum Ordinance is void for vagueness under the First Amendment because, in

operation, its uncertain meaning as to what fires will be deemed by officials charged with

enforcing the Bum Ordinance to be for “pleasure,” “ceremonial,” or “similar” purposes inhibits

the exercise of expressive rights protected by the First Amendment.

       60.     In the fog of this vagueness the Borough has unconstitutional discretion to

interpret and enforce the Bum Ordinance in an arbitrary and discriminatory manner, and in fact

did so against Stilp and Connolley, all in violation of the Fourteenth Amendment’s guarantee of

procedural due process.




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        61.      The Bum Ordinance is reasonably interpreted to include fires meeting the

requirements of a “recreational” fire for “pleasure,” “ceremonial,” or “similar” purpose, yet

Borough officials issued Stilp and Connolley citations for igniting the fire, pursued the citations

against Stilp and Connolley in a summary trial, and Stilp and Connolley are under ongoing threat

of prosecution if they should again engage in public burning of flags as part of public political

demonstration.

    WHEREFORE, Plaintiffs Stilp and Connolley pray the Court to:

        a.       PERMANENTLY ENJOIN enforcement of the Bum Ordinance by the Borough

of West Chester against him as VOID FOR VAGUENESS under the First and Fourteenth

Amendments; and

        b.       AWARD attorneys fees pursuant to 42 U.S.C. § 1988, costs of suit and such other

relief as is just and equitable.

                                         Count IV
                    Burn Ordinance Overbroad Under the First Amendment
                                     42 U.S.C. § 1983

        62.     The averments of the foregoing paragraphs are incorporated by reference.

        63.     The Bum Ordinance is overbroad in that, both facially and through its application

by the Borough, the Bum Ordinance prohibits constitutionally protected conduct and deters

privileged activity.

        64.     The Bum Ordinance, on its face, does not permit burning for political

demonstrations, yet allows burning for “pleasure,” “ceremonial,” or “similar” purpose, sweeping

within the conduct prohibited by the Bum Ordinance conduct which is protected by the First

Amendment.




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        65.      The Bum Ordinance, through its application, apparently prohibits burning for

political demonstrations, yet expressly permits burning for “pleasure,” “ceremonial,” or “similar”

purpose, deterring protected activity and placing prohibitions and sanctions on activity protected

by the First Amendment.

        WHEREFORE, Plaintiffs Stilp and Connolley pray the Court to:

        a.      PERMANENTLY ENJOEM enforcement of the Bum Ordinance by the Borough

of West Chester against him as OVERBROAD under the First Amendment; and

        b.      AWARD attorneys fees pursuant to 42 U.S.C. § 1988, costs of suit and such other

relief as is just and equitable.

                                          Count V
                Unconstitutional Suppression of Expressive Conduct Under the
                                     First Amendment
                                         (Damages)
                                      42 U.S.C. § 1983

        66.     The averments of the foregoing paragraphs are incorporated by reference.

        67.     The Borough has violated Stilp and Connolley’s right to freedom of political

expression under the First Amendment by the vague and overly broad language of the Bum

Ordinance as well as the Borough’s unconstitutional application thereof.

        68.     Stilp and Connolley desire the freedom to conduct burnings otherwise meeting the

requirements of a “recreational fire” under the Bum Ordinance in the future, but fear to do so

because of the overbreadth and vagueness of the ordinance and the Borough’s actual application

thereof which have chilled his freedom of political expression.

       69.      Stilp and Connolley have suffered damages by virtue of the Borough’s

abridgement of their First Amendment rights to free expression for which they must be

compensated.



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        70.     WHEREFORE, Plaintiffs Stilp and Connolley pray the Court to:

                a.      ENTER JUDGMENT in Stilp and Connolley’s favor and against the

Borough of West Chester for nominal and compensatory damages for the Borough’s historic

denial of Stilp and Connolley’s right to engage political demonstration by burning a flag even

though such bum meets the requirements of a “recreational fire” under the Bum Ordinance in

every qualitative respect except for the political message it conveys; and

                b.      AWARD attorneys fees pursuant to 42 U.S.C. § 1988, costs of suit and

such other relief as is just and equitable.

                                                     Respectfully submitted.

                                                     METTE, EVANS & WOODSIDE

                                                     /s/ Aaron D. Martin
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Dated: September 7, 2021.




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